UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

THE ROMAN CATHOLIC DIOCESE OF BROOKLYN,
NEW YORK,
DECLARATION
Plaintiff,
Civil No. 20-cv-4844
VS.

GOVERNOR ANDREW M. CUOMO, in his official
capacity,
Defendant.

 

Howard A. Zucker, M.D., J.D., on the date noted below. and pursuant to § 1746 of title 28
of the United States Code, declares the following to be true and correct under penalty of perjury
under the laws of the United States of America:

Background and Qualifications

1) I am the Commissioner of the New York State Department of Health
(“Department”). I make this declaration in my capacity as the Commissioner after consultation
with Department program staff directing the initiatives detailed below. I respectfully submit this
declaration in order to place before the Court certain testimony and documents relevant to the relief
requested. I am familiar with the matters set forth herein, either from professional knowledge,
conversations with Department staff, or on the basis of documents that have been provided to and
reviewed by me. I have been asked to assist New York State in its response to the COVID-19
public health emergency. I am a member of the Governor’s COVID-19 Response and Recovery

Task Force (the “COVID-19 Task Force”).
2) I have extensive knowledge of pediatric medicine and care and am aware of many
family health issues. I am board-certified in six specialties/subspecialties and trained in pediatrics
at Johns Hopkins Hospital, anesthesiology at the Hospital of the University of Pennsylvania,
pediatric critical care medicine/pediatric anesthesiology at The Children’s Hospital of
Philadelphia, and pediatric cardiology at Children’s Hospital Boston/Harvard Medical School. I
was a professor of clinical anesthesiology at Albert Einstein College of Medicine of Yeshiva
University and pediatric cardiac anesthesiologist at Montefiore Medical Center in the Bronx. I
also served as associate professor of clinical pediatrics and anesthesiology at Columbia University
College of Physicians & Surgeons and pediatric director of the ICU at New York Presbyterian
Hospital. I am a former Columbia University Pediatrics Teacher of the Year.

3) As Commissioner of the Department, I must “take cognizance of the interests of
health and life of the people of the state, and of all matters pertaining thereto and exercise the
functions, powers and duties of the department prescribed by law.” Public Health Law (“PHL”)
§206(1)(a). |

4) I preside over the State’s Office of Public Health, which includes epidemiology,
the Medicaid program, the New York State Public Health and Health Planning Council, and the
Wadsworth Center, New York’s premier public health lab, as well as the entire health care
workforce, and health care facilities.

5) In the last nine months, I have been personally involved in the development and
implementation of what is known as the “New York State on PAUSE” initiative—restrictions
implemented through a series of executive orders and associated guidance designed to stop the

transmission of the novel coronavirus (COVID-19)—and I am also familiar with the detailed plan

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that the State adopted to allow the safe reopening of each New York industry, including all |
gatherings. I am familiar with the facts set forth herein based upon personal knowledge,
discussions with Department staff, and Department records.

6) I make this declaration — based upon, among other things, my personal knowledge;
my studies and research on matters related to infectious diseases; and my work and discussions
with other infectious disease experts and public health officials — to, among other things, further
clarify the process and the creation, designation, and monitoring of the zones through the ©
Governor’s Cluster Action Initiative (“Initiative”); the tracking of the disease; and the State’s
response generally to this global pandemic.

7) The data throughout New York shows the State has maintained an average
transmission rate around 1% or below since March 22, 2020, when the New York State on PAUSE
plan was initiated, but there have been outbreaks and spikes in areas necessitating immediate
attention to contain the virus and mitigate spread throughout the community.

8) The intention is to create an aggressive and targeted approach to contain and control
the spread of the virus from the immediate area where the cluster is located and to a larger region.
COVID-19 Mapping

9) The Initiative was created to divide clusters and the areas around them into three
categories with successively higher restrictions within each one: Red Zone - cluster itself;

Orange Zone - warning zone; and Yellow Zone - precautionary zone.

10) ‘The creation of the Zones is intended to be a short-term, but aggressive, approach

to contain the threat of the virus spreading throughout a community and creating a larger potential

super-spreader event.
11) Members of my team in the Department closely track the metrics related to
COVID-19 on a daily basis to determine areas of particular concern that may need additional
resources such as increased testing access, compliance enforcement, or targeted pause on
economic and/or social activities. My staff and I work with members of the Governor’s COVID-

19 Response and Recovery Task Force (“COVID-19 Task Force”), by, among other things,
providing case data and rates to help inform decisions on what steps the State needs to take to
address areas of concern with higher positivity rates.

12) Anarea may be placed in a “Red Zone” if the following factors are met:

e The area is a defined geographic area (which may or may not align
to geopolitical or other common geographic subdivisions, such as
county, zip codes, or contiguous neighborhoods) has a 7-day rolling
average positivity rate of 3% or higher for a sustained period of time
(metrics adjusted for population size and population density);

e Positive cases reflect community spread and cannot be solely
explained by a contained cluster in a single institution (e.g., nursing
home, factory, college, etc.); and

e The Department, in consultation with the local departments of

health, finds that it is in the best interest of public health for the area
to be placed in Red Zone status.

13) Once an area has been designated as a “Red Closure Zone,” the following steps
are taken:
e The Department, in coordination with local health authorities, uses
case incidence and mapping data to refine boundaries that balance
epidemiological priorities with geographic realities;
e The Department, in coordination with local health authorities, uses

case incidence and mapping data to refine and establish boundaries
for “buffer zones” around the Red Closure Zone to ensure spread

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from the closure zone does not broaden into the wider community.
In densely populated urban areas, two buffer zones — an Orange
Warning Zone and a Yellow Precautionary Zone -- may be required;
and

e The Department issues guidance specific to each warning zone and

the status of activities within the zone (i.e., mass gatherings,
businesses, schools, etc.).

14) After 14 days, the Department, in coordination with local health authorities and in
consultation with global health experts, determines whether data sufficiently demonstrate that the
area has successfully reduced viral spread to a level able to be contained given testing, contact
tracing, and other health system metrics. Based on this data and expert advisement, the
Department decides whether the Red Closure Zone will be extended, modified, or ended.

Mapping Data

15) | The creation of the cluster zones is map-based and formulated from data
_ submitted to the Department and analyzed by Department staff.

16) We rely upon data submitted to the State’s Electronic Clinical Laboratory
Reporting System (“ECLRS”) to map the zones. Laboratories in New York State use this system
for secure and rapid transmission of reportable disease information to the Department, county
health departments, and the New York City Department of Health and Mental Hygiene
(“NYCDOHMH”).

17) — A laboratory is required to report all COVID-19 tests results to the State and will
upload data files related to these tests. It is this data analyzed and used to generate a map
indicating the location of these cases (COVID-19 positive test results). The cases are

represented as dots on a map and indicate areas with high positivity percentages. My team
works with members of the Task Force to look first at the zip codes with the highest positivity
rates and then break that down further based on individual addresses using the data pulled from
ECLRS.

18) The Red Zone contains the highest level and concentration of positive cases,
which is the cluster itself and is created by analyzing the mapping of the positivity rates and
using streets as a boundary.

19) The Red Zone is created by pulling data form ECLRS and analyzing it to map out
cases as dots. It is the concentration of dots that indicate a high level of virus in an area which in
turn delineates the boundaries of the red zone. When we are mapping the positive cases and
creating the zones, we are not looking at the businesses or entities located within those zones,
only the number and grouping of positive cases. We look solely at the data and do not take into
account who or what are located in that zone — whether it is a non-essential business, school,
yeshiva, church, synagogue, or a cat dealership — as they all face restrictions, if justified by the
scientific data, whether or not that particular school, car dealership, or religious group has
positive cases within it. The data drives the zone.

20) There is no specific percentage or threshold to determine when an area should be
designated as an Orange or Yellow Zone, as it is a nuanced process that takes multiple factors
into account and not solely the positivity percentage. It is important, for instance, to consider the
population density of the area. The Department analyzes the number of cases within the Orange
and Yellow Zones to determine the rates positive cases. The positivity percentages within those
zones indicate the level of spread beyond the cluster and require some level of mitigation to

prevent any further spread of the virus.
21) The Orange Zone serves as a buffer to the Red Zone and is generally a five block
or quarter mile: boundary around the Red Zone tracked by streets. The goal of having such an
' area, which is given more scrutiny, is to prevent the cluster zone from expanding further and
keep it contained.

22) The Yellow Zone serves as a buffer to the Orange Zone with the same goal of
containing the virus and not allowing the cluster to expand.

Positivity Rates

23) The positivity rates are pulled daily from ECLRS, are mapped out, and are
analyzed to determine if a particular cluster is improving or getting worse. The positivity rates in
all red zones as of October 15, 2020 is 4.8% a reduction of the 7.9% positivity rate the week of
September 20 through September 26 and reducing each subsequent week. While this indicates
that the targeted restrictions are having the desired effect to mitigate and control the spread of the
virus, this is still approximately 4 times the overall state positivity rate, which is still highly
concerning since it is over 1%.

24) Any re-evaluation for a reduction in restrictions would not occur before 14 days
since that is the incubation period for the virus. This data and analysis are provided to the
Governor and his team on a daily basis, including the COVID-19 Task Force.

25) Any reduction or increase in restrictions will occur based on the analysis of all of
the available data. While we do not speculate on what future actions will be taken since this is
an ever-evolving process, driven by the positivity rates and trends over time, the goal is clearly to
mitigate community spread and continue the phased reopening throughout the state. |

26) Many different actions can be taken based on an analysis of the data and due to its

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evolving nature. This is a highly calibrated process to ensure that the most precise restrictions are
in place. The Department receives new data throughout the day creating fluctuations in numbers
and rates. The data is continually reassessing to fine tune the statistics to ensure that we, the Task
Force, and the Governor have the most current data available to indicate progress, or lack thereof,
in the zones.
Modification of the Zones

27) The Department and the Task Force are continually monitoring and testing the data
related to transmission, including the positivity rates and population density, to inform decisions
on zone designation and possible modification. |

28) Where the data shows sustained decrease in community transmission in the cluster,
the Department, the Task Force, and the Governor assess the change in transmission rates and all
available relevant information related thereto to determine whether zone modification is warranted
and would protect the public health of New Yorkers.

29) With respect to any easing of restrictions in the Red Zone, the Department, the

Governor’s team, and the Task Force will continue to monitor and: assess the current decreasing
trend in that zone to ensure that it a sustained downward trend. Upon this review, if the operation

has been successful, the designation of a Red Zone may be modified or lifted altogether.

Dated: October 16, 2020

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Howard A. Zucket, M.D., J.D
